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                                                        JONES DAY
                                     2727 NORTH HARWOOD STR EET • D A LLA S TEXAS 75201 1515

                                     TELEPHONE      + 1 214 220 3939 • F A CSI M ILE + 1 21 4 969 51 00


                                                                                                                 DIRECT NUMBER ( 21 4 ) 969-3759
                                                                                                                    GMGORDON@JONESDAY COM




                                                        December 7, 2021


The Honorable Michael B. Kaplan
United States Bankruptcy Court, District of New Jersey
Clarkson S. Fisher US Courthouse
402 East State Street, Courtroom #8
Trenton, NJ 08608

                     Re: LTL Management LLC, Case No. 21-30589(MBK)

 Dear Judge Kaplan:

      This responds to Mr. Glasser's letter submitted yesterday on behalf of the Talc
Claimants' Committee ("TCC").

         As an initial matter, the Debtor has not refused to make Ms. Goodridge available for
deposition. To the contrary, in a detailed response to the TCC's discovery requests, which I sent
to Mr. Glasser on December 3, 2021, the Debtor proposed a list of potential deponents with
knowledge about the corporate restructuring and bankruptcy filing, and Ms. Goodridge was the
first person included on that list. Tellingly, the TCC sent its letter raising what is in reality a
non-issue shortly after we advised the TCC that we intended to seek relief from Your Honor
regarding the TCC's discovery demands.

        The issue is not the deposition of Ms. Goodridge but rather the gross over breadth of the
TCC's discovery requests. The claimants have already had significant discovery in this case
regarding the corporate restructuring and related matters. In the preliminary injunction adversary
proceeding, the claimants deposed five witnesses for more than 20 hours. At the hearings on the
automatic stay and preliminary injunction, John Kim, the Chief Legal Officer of LTL, testified
for two days and was cross-examined extensively. The claimants served 35 document requests,
19 interrogatories and a request for admission. LTL responded to all these requests and
produced almost 2,750 documents totaling approximately 23,600 pages.

        Despite this significant prior discovery, the discrete issues raised by the motion to dismiss
and the limited time available between now and the February 15, 2022 hearing date (which
includes a number of intervening holidays), the TCC served LTL with extensive additional
discovery, including requests for admission, interrogatories and 67 document requests. The TCC
also asked for (a) E-discovery from 78 custodians (the list is attached to the document requests),
which include at least 15 in-house and outside counsel, members of the Johnson & Johnson




AMSTERDAM • ATLANTA • BEIJING • BOSTON • BRISBANE • BRUSSELS • CHICAGO • CLEVELAND • COLUMBUS • DALLAS • DETROIT
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S AO PAULO   •   SAUDI ARABIA   •   SHANGHAI   •   SILICON VALLEY     •   SINGAPORE    •   SYDNEY   •   TAIPEI    •   TOKYO   •   WASHINGTON
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Board of Directors and members of the Johnson & Johnson Executive Committee (including the
Chief Executive Officer of Johnson & Johnson), (b) privilege logs for all privileged
communications generated from this custodian search and (c) proposed search terms for E-
discovery that include such generic words as "talc," "baby powder" and "cancer." And the TCC
has asked that the Debtor complete its production of documents by January 10, 2022. For the
Court's convenience, I have attached copies of the TCC's discovery requests to this letter.

        On top of this written discovery, the TCC also seeks to take an indefinite number of
depositions. It has refused to discuss any limit on the number of depositions and has not even
agreed to limit the number to the 10 permitted by the Federal Rules for an entire civil case.

        Finally, the TCC has insisted that it must take three initial "exploratory" depositions,
including the deposition of Ms. Goodridge, within the next week or two (the Debtor is uncertain
why the TCC's letter only mentions one of the three), depriving the Debtor of any meaningful
time to prepare the witnesses. Notwithstanding this, the Debtor offered to provide one of the
three individuals late this week (and would also be amenable to providing Ms. Goodridge in lieu
of the person we offered, either late next week or early the following week), provided the TCC
agrees to a reasonable deposition limit. As I indicated, the TCC has not been willing to even
discuss a limit.

       It is simply not possible for the Debtor to comply with the TCC's excessive discovery
requests. The collection and review of E-discovery for 78 custodians alone could not be
completed before the hearing on February 15, 2022 . Preparation of privilege logs and the time
needed to prepare an unspecified number of witnesses for deposition would only further expand
the scope and burden beyond what is reasonable and appropriate given the expedited proceedings
and discrete issues.

        The Debtor respectfully requests the Court's assistance in substantially narrowing the
scope of the TCC's discovery requests. In the Debtor's view, depositions and custodians should
be limited to five to seven individuals each. Based on the discovery the claimants have already
taken, the TCC has the information it needs to narrow its requests to this number and, in a meet
and confer yesterday, the Debtor provided TCC's counsel with additional information on the
TCC's 78-person custodian list to assist it in winnowing down that list to a manageable number
of potential deponents and custodians.

        The motion to dismiss raises only a discrete number of issues. The claimants have
already had substantial discovery regarding the corporate restructuring and the Debtor is willing
to provide substantial additional discovery. The TCC's overbroad requests are disproportionate
to the needs of the motion to dismiss and the accelerated time frame under which the parties are
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operating does not provide the Debtor with sufficient time to even remotely comply with the
discovery requests as currently formulated.

        We respectfully submit that the Court should not permit discovery that is irrelevant and
unnecessary to the dismissal motion. The Court may reserve for another day whether the
discovery, much of which appears to relate to other issues, should be allowed in connection with
any future matter in this case. The Debtor, of course, would likewise reserve its rights in the
event the discovery is later propounded in another matter.

       We are available for a call at 4 pm today and respectfully request that Your Honor
consider these requests at that time.

                                                Respectfully submitted,


                                             ~~ Gregory M. Gordon 'i).S ~

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                    ENCLOSURE 1
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY




     In re:                                            Chapter 11

     LTL MANAGEMENT LLC,                               Case No. 21-30589 (MBK)

                                     Debtor. 1




        FIRST SET OF INTERROGATORIES BY OFFICIAL COMMITTEE OF TALC
       CLAIMANTS TO DEBTOR LTL MANAGEMENT LLC IN CONNECTION WITH
                             MOTION TO DISMISS

 TO: LTL Management LLC, c/o its attorneys of record, James N. Lawlor, Wollmuth Maher &
 Deutsch LLP., 90 Washington Valley Road, Bedminster, NJ 07921 and Gregory M. Gordon,
 Esq., Jones Day, 2727 N. Harwood Street, Dallas, TX 75201

              Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (the “Federal

 Rules”), incorporated in this contested matter by Rules 7026, 7033 and 9014 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”), the Official Committee of Talc Claimants

 (the “TCC”), by its undersigned counsel, hereby requests that LTL Management LLC respond to

 the following Interrogatories no later than December 31, 2021.

                                                 DEFINITIONS

              1.     The “First Day Declaration” shall refer to the Declaration of John K. Kim in

 Support of First Day Pleadings, dated October 14, 2021, filed in the main bankruptcy case as Dkt.

 No. 5.




 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address
 is 501 George Street, New Brunswick, New Jersey 08933.



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             2.     Unless otherwise defined herein, capitalized terms shall have the meanings ascribed

 to them in the First Day Declaration, except that any capitalized term in the First Day Declaration

 referring to an entity, here, shall also mean that entity’s present and former parents, subsidiaries,

 affiliates, directors, officers, members, managers, employees, agents, attorneys and

 representatives, and every other person acting on its or their behalves.

             3. The terms "Identify" or "Identification" shall mean:

                    a. When used in reference to a natural person, the person's full name, present or

                        last known address, present or last known telephone number(s), present or last

                        known employer, position, title, and/or business affiliation.

                    b. When used in reference to a business entity, the entity's name and address,

                        telephone number(s), principal place of business, and the legal nature of the

                        entity (i.e., corporation, partnership, etc.).

                    c. When used in reference to a document, the description (i.e., letter,

                        memorandum, report, etc.), its title and date, the number of pages thereof, the

                        subject matter and author, the person or persons to whom it was directed, and

                        its present location, and the identity of the person or entity presently having

                        possession, control, or custody of such document.

             4.     The phrases "Specify in all possible detail" or "describe in detail" means to describe

 completely and accurately the subject matter about which inquiry is made, using the simplest, most

 descriptive, and most factual statements of which the Debtor is capable.

             5.     The “Requests for Admission” refers to the First Set of Requests for Admission by

 the Official Committee of Talc Claimants to Debtor LTL Management LLC in Connection with

 the Motion to Dismiss.



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             6.   The term “document” is defined to be synonymous in meaning and equal in scope

 to the usage of the term “documents or electronically stored information” in Fed. R. Civ. P.

 34(a)(1)(A), and includes without limitation electronic data, electronic databases, electronic

 media, the original and any draft, version or copy which differs in any way from the original of

 any written or graphic matter, however produced or reproduced, of any kind or description,

 whether sent or received (or neither), and it shall include, without limitation, any paper, book,

 account, minutes, photograph, agreement, contract, memorandum, advertising material, letter,

 e-mail (or other electronic communication), any written, printed, typed, photostatic, photographed,

 recorded, computer-generated, computer-stored, or otherwise maintained or reproduced

 communication or representation, any database or data compilation in any form, whether

 comprised of letters, words, numbers, pictures, sounds, bytes, e-mails, electronic signals or

 impulses, electronic data, active files, deleted files, file fragments, or any combination thereof

 including, without limitation, all memoranda, notes, records, letters, envelopes, emails,

 voicemails, telegrams, messages, studies, analyses, contracts, agreements, projections, estimates,

 working papers, accounts, analytical records, reports and/or summaries of investigations, opinions

 or reports of consultants, opinions or reports of experts, opinions or reports of accountants, other

 reports, trade letters, press releases, comparisons, books, diaries, articles, magazines, newspapers,

 booklets, brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams,

 instructions, minutes or meetings, correspondence, and communications of any type (including,

 but not limited to, video files, audio files, inter- and intra-office communications), questionnaires,

 surveys, charts, graphs, photographs, phonographs, films, webcasts, presentations (e.g. Microsoft

 PowerPoint), tapes, discs, data cells, drums, printouts, all other compiled data which can be

 obtained (translated, if necessary, through intermediary or other devices into useable forms),

 documents maintained on, stored in or generated on any electronic transfer or storage system, any

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 preliminary versions, drafts or revisions of any of the foregoing, electronically stored information

 (of any kind), object, report, record, summary accounting, transcript, study, notation, working

 paper, interoffice or intraoffice communication, charts or minutes, index sheet, computer software,

 check, check stub, ledger entry, delivery ticket, bill of sale, invoice, recording of telephone or other

 conversations (or of interviews or conferences), or any written, recorded, transcribed, punched,

 taped, filmed or other graphic matter or data compilations, however produced or reproduced, to

 which the Debtor has access or of which the Debtor is aware .and other writings or documents of

 whatever description or kind, whether produced or authorized by or on behalf of Debtor or anyone

 else, and shall include all non-identical copies and drafts of any of the foregoing now in the

 possession, custody or control of Debtor, or the former or present directors, offices, counsel,

 agents, employees, partners, consultants, principals, and /or persons acting on Debtor behalf.

             7.   The term “all documents” means every document, whether an original or copy,

 known to you or which you can locate or discover by reasonably diligent effort, within your

 custody, possession or control, or the custody, possession or control of your present or former

 attorneys, accountants, insurance carriers, representatives, employees and/or agents.

             8.   The term “communication” means the transmittal of information (in the form of

 facts, ideas, inquiries or otherwise) including but not limited to any oral or written transmittal

 and/or receipt of facts, information, thoughts, inquiries, opinions, including, without limitation,

 meetings, conversations in person, telephone conversations, records of conversations or messages,

 telegrams, telexes, facsimile transmissions, electronic mail transmissions, letters, reports,

 memoranda, formal statements and press releases, and newspaper stories.                 References to

 communications with business entities shall be deemed to include all officers, directors,

 employees, agents, attorneys, accountants, consultants, independent contractors, or other

 representatives of such entities.

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             9.    The term “all communications” shall mean each and every communication,

 whether an original or copy, known to you or which you can locate or discover by reasonably

 diligent effort, within your custody, possession or control, or the custody, possession or control of

 your present or former attorneys, accountants, insurance carriers, representatives, employees

 and/or agents.

             10.   The term “electronic data,” “electronic database,” “database” and “data” mean the

 original (native electronic format) and any non-identical copies (whether non-identical because of

 notes made on copies or attached comments, annotations, marks, transmission notations, or

 highlighting of any kind) of writings of every kind and description whether inscribed by

 mechanical, facsimile, electronic, magnetic, digital, or other means. Such terms include, by way

 of example only, computer programs (whether private, commercial or works-in-progress),

 programming notes or instructions, activity listings or electronic mail receipts and /or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs and outlines, electronic mail, operating systems, source

 code of all types, peripheral drivers, PID files, batch files, ASCII files, and any and all

 miscellaneous files and/or file fragments, regardless of the media or which they reside and

 regardless of whether said electronic data consists of an active file, deleted file or file fragment.

 Such terms include any and all items stored on computer memories, hard disks, floppy disks, CD-

 ROMS, removable media such as zip drives, USB drives, storage cartridges, Bernoulli Boxes and

 their equivalent, magnetic tapes of all types, microfiche, punched cards, punched tape, computer

 chips, including, but not limited to, EPROM, PROM, RAM and ROM, on or in any other vehicle

 for digital data storage and/or transmittal. Such terms also include the file, folder tabs and/or

 containers and labels appended to, or associated with, any physical storage device associated with

 each original and/or copy.

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             11.   The term “electronic media” means any magnetic or other storage media device

 used to record electronic data. Electronic media devices may include computer memories, hard

 disks, floppy disks, CD-ROM, removable media such as Bernoulli Boxes and their equivalent,

 magnetic tapes of all types, microfiche, punched cards, punched tape, computer chips, including,

 but not limited to, EPROM, PROM, RAM and ROM, or on or in any other vehicle for digital data

 storage and /or transmittal.

             12.   The term “native electronic format” shall mean and refer the state of an electronic

 file as it presently exists on any and all computers, electronic media devices and networks or any

 other location where data may be stored (including back-up servers, deleted folders, hidden

 folders, etc.), with all of the file’s original metadata intact, meaning that the metadata fields have

 not been altered, deleted, updated or modified in any way.

             13.   The term “network” means any hardware and /or software combination that

 connects two or more computers together and which allows the computers to share and/or transfer

 data between them. For the purposes of this definition, the connection between or among the

 computers need not be either physical or direct, i.e., wireless networks, and sharing and/or

 transferring data via indirect routs utilizing modems and phone company facilities, In addition,

 there need not be a central file or data server nor a central network operating system in place, i.e.

 peer-to-peer networks and networks utilizing a mainframe host to facilitate data transfer.

             14.   The term “computer” means all devices utilizing microchips to facilitate

 processing, analysis or storage of data, including microcomputers (as known as personal

 computers), laptop computers, portable computers, notebook computers, palmtop computers (as

 known as personal digital assistants or PDA’s), minicomputers and mainframe computers.

 “computer system,” when used in reference to any computer, includes the following information:

 (a) the computer type, brand, and model, and (b) the brand and version of all software, including

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 the operating system, private- and custom-developed applications, commercial applications and/or

 shareware.

             15.   The terms “concern” or “concerning” shall mean refer to, allude to, related to,

 connected with, in respect of, about, regarding, discussing, showing, evidencing, describing, in

 support of, in substitution of, reflecting, and analyzing.

             16.   The term “person” is defined as any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association, a group of natural persons

 acting in a collegial capacity (e.g., as a committee, board of directors), an entity, including without

 limitations sole proprietorship, firm, association, company, partnership, joint venture corporation

 or division or subsidiary thereof, trust, estate, and other incorporated or unincorporated business.

             17.   The “Petition Date” shall refer to October 14, 2021.

             18.   “Motion” shall refer to the TCC’s Motion to Dismiss the Debtor’s Chapter 11 Case

 pursuant to § 1112(b).

             19.   The “Adversary Proceeding” refers to the adversary proceeding captioned, LTL

 Management LLC v. Those Parties Listed on Appendix A to Complaint and John and Jane Does 1 –

 1000, Adv. Pro. No. 21-03032 MBK, now pending in the United States Bankruptcy Court for the

 District of New Jersey.

             20.   The “2021 Corporate Restructuring” shall refer, individually and collectively, to

 the series of corporate or company transactions and filings, whenever they occurred, that

 culminated in the formation, capitalization and/or re-domiciling of the Debtor and New JJCI on or

 about October 12, 2021, involving all entities and transactions that resulted in the division of

 Chenango Zero LLC (“Chenango Zero”) into the Debtor and New JJCI as described in Section II

 of the First Day Declaration.



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             21.   “Financial statements” means such records that reflect the financial performance of

 an entity during a particular time period and/or as of a particular date, as the context requires, and

 include, but are not limited to, the consolidated and consolidating balance sheet, income statement

 and statement of cash flow, along with associated notes, footnotes, exceptions or management

 discussion and analysis.

             22.   Plural words include the singular equivalent, and singular words include the plural

 equivalent.

             23.   The term “and” includes the disjunctive “or,” and “or” includes the conjunction

 "and."

                                           INSTRUCTIONS

             1.    In answering these Interrogatories, the Debtor is required to furnish all information

 available to the Debtor or subject to reasonable inquiry by the Debtor, including, but not limited

 to, information in the Debtor’s possession, the possession of the Debtor’s attorneys, accountants,

 advisors, or other persons directly or indirectly employed by the Debtor, the Debtor’s attorney, or

 anyone else otherwise subject to the Debtor’s control.

             2.    These Interrogatories shall be continuing in nature until the date of the Motion to

 Dismiss Hearing, and the Debtor is required to serve supplemental answers as additional

 information may become or be made available to You.

             3.    These Interrogatories call for all information available to the Debtor, including,

 without limitation, information available to the Debtor’s agents, attorneys and/or other

 representatives.

             4.    Each Interrogatory must be answered separately and fully in writing under oath.




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             5.    If the Debtor claims the information necessary to answer an Interrogatory is not

 available to it, the Debtor shall so state and answer the Interrogatory in as detailed a fashion as

 possible, and identify all persons known to have such knowledge.

             6.    In each instance where an Interrogatory is answered based on information and

 belief, the Debtor shall set forth the basis for such information and belief.

             7.    If the Debtor elects to specify and produce business records in response to any

 Interrogatory, the Debtor must comply with Rule 33(d) of the Federal Rules.

             8.    If the Debtor objects to any Interrogatory or any part thereof, you shall identify the

 Interrogatory or part thereof to which you object, state with specificity all grounds for the objection

 and answer any portion of the Interrogatory to which you do not object.

             9.    These Interrogatories are continuing in nature. Pursuant to Rule 26(e) of the

 Federal Rules, the Debtor is required promptly to supplement or correct any answer to these

 Interrogatories if it learns that the answer is in some material respect incomplete or incorrect, and

 if the additional or corrective information has not otherwise been made known to the TCC during

 the discovery process or in writing.

             10.   The TCC reserves the right to amend, supplement and/or modify these

 Interrogatories.

                                         INTERROGATORIES

             1.    Identify each person who, at any time between March 1, 2021 and the present, is, was

 or has been a member of the Board of Directors, or Board of Managers, as applicable, or was the sole

 member, manager or shareholder of each entity in the chain of ownership between J&J and the Debtor,

 inclusive, including, but not limited to, each such member of the Board of Directors or Board of

 Managers, or each sole member, manager or shareholder, of J&J, Janssen Pharmaceuticals, Inc., Old

 JJCI, Chenango Zero, Chenango One, Chenango Two, Currahee, New JJCI and the Debtor.

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             2.   If the Debtor’s response to any request for admission in the Requests for Admission

 is anything other than an unqualified “admit,” describe in detail the bases on which the Debtor will

 not admit the request.

             3.   State the total worldwide sales, in terms of gross revenue, of talcum powder

 products by Old JJCI in fiscal year 2020 and fiscal year to date 2021.

             4.   State the total worldwide sales, in terms of gross revenue, of talcum powder

 products by New JJCI in November 2021.

             5.   Identify all public relations and consulting firms involved in the 2021 Corporate

 Restructuring, any aspect of “Project Plato,” or who handle work associated with public relations

 in respect of this bankruptcy action or the MDL litigation in front of Judge Wolfson.

 Dated: December 1, 2021                           Respectfully submitted,

  GENOVA BURNS LLC                                   BROWN RUDNICK LLP
  Daniel M. Stolz                                    David J. Molton
  110 Allen Road                                     Robert J. Stark
  Suite 304                                          Jeffrey L. Jonas
  Basking Ridge, NJ 07920                            Michael Winograd
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  Email: dstolz@genovaburns.com                      Tel: 212-209-4800
                                                     Fax: 212-209-4801
                                                     Email: dmolton@brownrudnick.com
                                                             rstark@brownrudnick.com
                                                             jjonas@brownrudnick.com
                                                             mwinograd@brownrudnick.com
                                                     -and-
                                                     Sunni Beville
                                                     One Financial Center
                                                     Boston, MA 02111
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                                                     Email: sbeville@brownrudnick.com




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  BAILEY GLASSER LLP                           MASSEY & GAIL LLP
  Brian A. Glasser                             Jonathan S. Massey
  Thomas B. Bennett                            1000 Maine Avenue SW
  1055 Thomas Jefferson Street NW              Suite 450
  Suite 540                                    Washington, DC 20024
  Washington, DC 20007                         Tel: 202-652-4511
  Tel: 202-463-2101                            Fax: 312-379-0467
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         tbennett@baileyglasser.com

  OTTERBOURG P.C.                              PARKINS LEE & RUBIO LLP
  Melanie L. Cyganowski                        Lenard M. Parkins
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  Tel: 212-905-3628                            Houston, Texas 77002
  Fax: 212-682-6104                            Phone: 713-715-1666
  Email: mcyganowski@otterbourg.com            Email: lparkins@parkinslee.com
         asilverstein@otterbourg.com                  crubio@parkinslee.com


              Proposed Co-Counsel for the Official Committee of Talc Claimants




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                                      CERTIFICATE OF SERVICE

             I hereby certify that I have this day served a copy of the foregoing FIRST SET OF

 INTERROGATORIES BY OFFICIAL COMMITTEE OF TALC CLAIMANTS TO DEBTOR

 LTL MANAGEMENT LLC IN CONNECTION WITH MOTION TO DISMISS by DISMISS

 by regular mail and electronic mail to the email addresses identified below, which is the last

 email address know to me:


                    James N. Lawlor
                    Wollmuth Maher & Deutsch LLP.
                    90 Washington Valley Road
                    Bedminster, NJ 07921
                    jlawlor@wmd-law.com

                    Gregory M. Gordon, Esq.
                    Jones Day
                    2727 Harwood Street
                    Dallas, TX 75201
                    gmgordon@jonesday.com

                    Attorneys for Plaintiff LTL Management LLC


 Dated: December 1, 2021                                        /s/ Brian A. Glasser
                                                                Brian A. Glasser




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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY




 In re:                                              Chapter 11

 LTL MANAGEMENT LLC,                                 Case No. 21-30589 (MBK)

                                 Debtor. 1




     FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS BY OFFICIAL
               COMMITTEE OF TALC CLAIMANTS TO DEBTOR LTL
         MANAGEMENT LLC IN CONNECTION WITH MOTION TO DISMISS

 TO: LTL Management LLC, c/o its attorneys of record, James N. Lawlor, Wollmuth Maher &
 Deutsch LLP., 90 Washington Valley Road, Bedminster, NJ 07921 and Gregory M. Gordon,
 Esq., Jones Day, 2727 N. Harwood Street, Dallas, TX 75201

             Pursuant to Rule 34 of the Federal Rules of Civil Procedure, made applicable to this

 contested matter by Rules 7034 and 9014 of the Federal Rules of Bankruptcy Procedure, the

 Official Committee of Talc Claimants, by its proposed undersigned counsel, hereby requests that

 LTL Management LLC produce the documents specified below by electronic means to the

 Bailey Glasser LLP, 923 Haddonfield Road, Suite 300, Cherry Hill, NJ 08002, attention:

 Katherine E. Charonko, Esq., kcharonko@baileyglasser.com, in accordance with the schedule

 agreed upon by the parties, on a rolling basis to be completed on or before December 31, 2021,

 at 5:00 p.m.




 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address
 is 501 George Street, New Brunswick, New Jersey 08933.



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                                          DEFINITIONS

             1.   The “First Day Declaration” shall refer to the Declaration of John K. Kim in

 Support of First Day Pleadings, dated October 14, 2021, filed in the main bankruptcy case as

 Dkt. No. 5.

             2.   Unless otherwise defined herein, capitalized terms shall have the meanings

 ascribed to them in the First Day Declaration, except that any capitalized term in the First Day

 Declaration referring to an entity, here, shall also mean that entity’s present and former parents,

 subsidiaries, affiliates, directors, officers, members, managers, employees, agents, attorneys and

 representatives, and every other person acting on its or their behalves.

             3.   The term “document” is defined to be synonymous in meaning and equal in scope

 to the usage of the term “documents or electronically stored information” in Fed. R. Civ. P.

 34(a)(1)(A), and includes without limitation electronic data, electronic databases, electronic

 media, the original and any draft, version or copy which differs in any way from the original of

 any written or graphic matter, however produced or reproduced, of any kind or description,

 whether sent or received (or neither), and it shall include, without limitation, any paper, book,

 account, minutes, photograph, agreement, contract, memorandum, advertising material, letter,

 e-mail (or other electronic communication), any written, printed, typed, photostatic,

 photographed, recorded, computer-generated, computer-stored, or otherwise maintained or

 reproduced communication or representation, any database or data compilation in any form,

 whether comprised of letters, words, numbers, pictures, sounds, bytes, e-mails, electronic signals

 or impulses, electronic data, active files, deleted files, file fragments, or any combination thereof

 including, without limitation, all memoranda, notes, records, letters, envelopes, emails,

 voicemails, telegrams, messages, studies, analyses, contracts, agreements, projections, estimates,

 working papers, accounts, analytical records, reports and/or summaries of investigations,

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 opinions or reports of consultants, opinions or reports of experts, opinions or reports of

 accountants, other reports, trade letters, press releases, comparisons, books, diaries, articles,

 magazines, newspapers, booklets, brochures, pamphlets, circulars, bulletins, notices, forecasts,

 drawings, diagrams, instructions, minutes or meetings, correspondence, and communications of

 any type (including, but not limited to, video files, audio files, inter- and intra-office

 communications), questionnaires, surveys, charts, graphs, photographs, phonographs, films,

 webcasts, presentations (e.g. Microsoft PowerPoint), tapes, discs, data cells, drums, printouts, all

 other compiled data which can be obtained (translated, if necessary, through intermediary or

 other devices into useable forms), documents maintained on, stored in or generated on any

 electronic transfer or storage system, any preliminary versions, drafts or revisions of any of the

 foregoing, electronically stored information (of any kind), object, report, record, summary

 accounting, transcript, study, notation, working paper, interoffice or intraoffice communication,

 charts or minutes, index sheet, computer software, check, check stub, ledger entry, delivery

 ticket, bill of sale, invoice, recording of telephone or other conversations (or of interviews or

 conferences), or any written, recorded, transcribed, punched, taped, filmed or other graphic

 matter or data compilations, however produced or reproduced, to which the Debtor has access or

 of which the Debtor is aware .and other writings or documents of whatever description or kind,

 whether produced or authorized by or on behalf of Debtor or anyone else, and shall include all

 non-identical copies and drafts of any of the foregoing now in the possession, custody or control

 of Debtor, or the former or present directors, offices, counsel, agents, employees, partners,

 consultants, principals, and /or persons acting on Debtor behalf.

             4.   The term “all documents” means every document, whether an original or copy,

 known to you or which you can locate or discover by reasonably diligent effort, within your



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 custody, possession or control, or the custody, possession or control of your present or former

 attorneys, accountants, insurance carriers, representatives, employees and/or agents.

             5.   The term “communication” means the transmittal of information (in the form of

 facts, ideas, inquiries or otherwise) including but not limited to any oral or written transmittal

 and/or receipt of facts, information, thoughts, inquiries, opinions, including, without limitation,

 meetings, conversations in person, telephone conversations, records of conversations or

 messages, telegrams, telexes, facsimile transmissions, electronic mail transmissions, letters,

 reports, memoranda, formal statements and press releases, and newspaper stories. References to

 communications with business entities shall be deemed to include all officers, directors,

 employees, agents, attorneys, accountants, consultants, independent contractors, or other

 representatives of such entities.

             6.   The term “all communications” shall mean each and every communication,

 whether an original or copy, known to you or which you can locate or discover by reasonably

 diligent effort, within your custody, possession or control, or the custody, possession or control

 of your present or former attorneys, accountants, insurance carriers, representatives, employees

 and/or agents.

             7.   The term “electronic data,” “electronic database,” “database” and “data” mean the

 original (native electronic format) and any non-identical copies (whether non-identical because

 of notes made on copies or attached comments, annotations, marks, transmission notations, or

 highlighting of any kind) of writings of every kind and description whether inscribed by

 mechanical, facsimile, electronic, magnetic, digital, or other means. Such terms include, by way

 of example only, computer programs (whether private, commercial or works-in-progress),

 programming notes or instructions, activity listings or electronic mail receipts and /or

 transmittals, output resulting from the use of any software program, including word processing

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 documents, spreadsheets, database files, charts, graphs and outlines, electronic mail, operating

 systems, source code of all types, peripheral drivers, PID files, batch files, ASCII files, and any

 and all miscellaneous files and/or file fragments, regardless of the media or which they reside

 and regardless of whether said electronic data consists of an active file, deleted file or file

 fragment. Such terms include any and all items stored on computer memories, hard disks, floppy

 disks, CD-ROMS, removable media such as zip drives, USB drives, storage cartridges, Bernoulli

 Boxes and their equivalent, magnetic tapes of all types, microfiche, punched cards, punched tape,

 computer chips, including, but not limited to, EPROM, PROM, RAM and ROM, on or in any

 other vehicle for digital data storage and/or transmittal. Such terms also include the file, folder

 tabs and/or containers and labels appended to, or associated with, any physical storage device

 associated with each original and/or copy.

             8.    The term “electronic media” means any magnetic or other storage media device

 used to record electronic data. Electronic media devices may include computer memories, hard

 disks, floppy disks, CD-ROM, removable media such as Bernoulli Boxes and their equivalent,

 magnetic tapes of all types, microfiche, punched cards, punched tape, computer chips, including,

 but not limited to, EPROM, PROM, RAM and ROM, or on or in any other vehicle for digital

 data storage and /or transmittal.

             9.    The term “native electronic format” shall mean and refer the state of an electronic

 file as it presently exists on any and all computers, electronic media devices and networks or any

 other location where data may be stored (including back-up servers, deleted folders, hidden

 folders, etc.), with all of the file’s original metadata intact, meaning that the metadata fields have

 not been altered, deleted, updated or modified in any way.

             10.   The term “network” means any hardware and /or software combination that

 connects two or more computers together and which allows the computers to share and/or

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 transfer data between them. For the purposes of this definition, the connection between or among

 the computers need not be either physical or direct, i.e., wireless networks, and sharing and/or

 transferring data via indirect routs utilizing modems and phone company facilities, In addition,

 there need not be a central file or data server nor a central network operating system in place, i.e.

 peer-to-peer networks and networks utilizing a mainframe host to facilitate data transfer.

             11.   The term “computer” means all devices utilizing microchips to facilitate

 processing, analysis or storage of data, including microcomputers (as known as personal

 computers), laptop computers, portable computers, notebook computers, palmtop computers (as

 known as personal digital assistants or PDA’s), minicomputers and mainframe computers.

 “computer system,” when used in reference to any computer, includes the following information:

 (a) the computer type, brand, and model, and (b) the brand and version of all software, including

 the operating system, private- and custom-developed applications, commercial applications

 and/or shareware.

             12.   The terms “concern” or “concerning” shall mean refer to, allude to, related to,

 connected with, in respect of, about, regarding, discussing, showing, evidencing, describing, in

 support of, in substitution of, reflecting, and analyzing.

             13.   The term “person” is defined as any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association, a group of natural persons

 acting in a collegial capacity (e.g., as a committee, board of directors), an entity, including

 without limitations sole proprietorship, firm, association, company, partnership, joint venture

 corporation or division or subsidiary thereof, trust, estate, and other incorporated or

 unincorporated business.

             14.   The “Petition Date” shall refer to October 14, 2021.



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             15.   “Motion” shall refer to the TCC’s Motion to Dismiss the Debtor’s Chapter 11

 Case pursuant to § 1112(b).

             16.   The “Adversary Proceeding” refers to the adversary proceeding captioned, LTL

 Management LLC v. Those Parties Listed on Appendix A to Complaint and John and Jane Does 1 –

 1000, Adv. Pro. No. 21-03032 MBK, now pending in the United States Bankruptcy Court for the

 District of New Jersey.

             17.   The “2021 Corporate Restructuring” shall refer, individually and collectively, to

 the series of corporate or company transactions and filings, whenever they occurred, that

 culminated in the formation, capitalization and/or re-domiciling of the Debtor and New JJCI on

 or about October 12, 2021, involving all entities and transactions that resulted in the division of

 Chenango Zero LLC (“Chenango Zero”) into the Debtor and New JJCI as described in Section II

 of the First Day Declaration.

             18.   The “Closing Binder” shall refer to the final, compiled record (in whatever form)

 of the fully-executed transaction documents delivered to the parties in connection with the 2021

 Corporate Restructuring.

             19.   “Decision Maker” means each officer, director, member, or manager of an entity.

             20.   “Financial statements” means such records that reflect the financial performance

 of an entity during a particular time period and/or as of a particular date, as the context requires,

 and include, but are not limited to, the consolidated and consolidating balance sheet, income

 statement and statement of cash flow, along with associated notes, footnotes, exceptions or

 management discussion and analysis.

             21.   “Lisman Deposition” shall refer to transcript of the October 30, 2021 deposition

 of Adam Lisman taken in connection with the Adversary Proceeding.



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             22.        “Identified Custodians” are those persons identified as custodians for the purpose

 of conducting searches of documents requested herein and listed in the attached Document

 Custodian List.

             23.        Plural words include the singular equivalent, and singular words include the plural

 equivalent.

             24.        The term “and” includes the disjunctive “or,” and “or” includes the conjunction

 "and."

                                                 INSTRUCTIONS

             1.         Documents and communications that the Debtor has already produced in the

 Adversary Proceeding, which are Bates numbered LTL 0000001 to LTL 023608, need not be

 produced in response to these requests; provided that, such documents shall be identified pursuant to

 Instruction 9 below.

             2.         If a claim of privilege is asserted in any objection to any document request or portion

 thereof, and documents are withheld on the basis of that assertion of privilege, the objection shall

 comply with Local Bankruptcy Rule 7026-1 and, in addition, identify:

                   a.          the nature of the privilege being claimed and, if the privilege is being asserted

                               in connection with a claim or defense governed by state law, the state’s

                               privilege rule being invoked; and

                   b.            (i) the type of document; (ii) the general subject matter of the document; (iii)

                               the date of the document; and (iv) such other information as is sufficient to

                               identify the document for a subpoena duces tecum, including, where

                               appropriate, the author of the document, the addressee of the document, and,

                               where not apparent, the relationship of the author to the addressee, and the

                               names of all entities that received a copy of the document.


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             3.   A request for a document shall be deemed to include a request for all transmittal

 sheets, cover letters, transmittal emails, exhibits, enclosures and attachments to the document, in

 addition to the document itself.

             4.   A request for a document shall be deemed to include a request for all drafts,

 revisions, modifications, versions and supplements thereof, in addition to the original document

 itself.

             5.   The masculine or feminine gender of any word shall be construed to include the

 masculine, feminine and neuter genders.

             6.   The past tense of any verb shall embrace and be applied as the present tense, or

 the context requires or as applicable, and vice versa.

             7.   Each request is to be construed and considered to act independently, and is not to

 be referenced to any other request for purposes of limitation.

             8.   These requests are intended to cover all documents (including, without limitation

 electronically stored information), wherever located, in Debtor’s possession, custody or control,

 including, without limitation, all documents in the personal possession of any agent, attorney,

 servant, employee, officer, director, affiliate, subsidiary, corporate parent, expert and other

 representative of Debtor, and any other person or entity from which Debtor may obtain

 documents.

             9.   Given the Debtor’s lack of any regular course of business, due to its bankruptcy

 filing two days after its formation, documents produced in response to these requests shall be

 clearly organized and labeled to correspond to the categories in these requests so as to indicate

 which documents are being produced in response to which numbered request. In the event that

 any documents called for by these requests were produced by the Debtor in the Adversary



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 Proceeding, the Debtor shall identify by Bates number the previously-produced documents that

 are responsive to each request herein.

             10.   If the parties agree, then production of documents shall be governed by the

 procedures set forth in the Discovery Plan governing the production of paper documents

 (“hardcopy”) and electronically stored information (“ESI”), which shall apply to all discovery of

 ESI and hardcopy documents in this case.

                                 REQUESTS FOR PRODUCTION

             1.    All   documents   and   communications     concerning    the   2021   Corporate

 Restructuring, including, without limitation, (i) any certificates and other documents filed with

 any governmental departments, agencies, units or entities, (ii) all organizational documents, e.g.,

 limited liability company (“LLC”) or operating agreements, shareholder agreements, by-laws,

 and articles of incorporation, any amendments or modifications thereto, and any drafts thereof,

 and (iii) all intercompany or third-party agreements related to the 2021 Corporate Restructuring,

 including but not limited to any non-disclosure agreements, employment agreements, consulting

 agreements along with drafts, mark-ups or comments on documents used, considered, executed

 and/or filed in connection with the 2021 Corporate Restructuring.

             2.    A copy of the full Closing Binder and any exhibits, schedules, agreements,

 ancillary agreements, including, without limitation, side-letters, included therein or prepared in

 connection therewith, related to the 2021 Corporate Restructuring.

             3.    Copies of each draft version of each document in the Closing Binder and

 communications related thereto.

             4.    Any workflow lists, task lists or closing checklists generated or received in

 connection with the 2021 Corporate Restructuring and all communications related thereto.


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             5.    Financial Statements, whether or not printed or transmitted, for Old JJCI as of the

 date and time immediately prior to Old JJCI’s merger into Chenango Zero, including, without

 limitation, any such Financial Statements communicated, prior to the merger of Old JJCI into

 Chenango Zero, to any Decision Maker involved with the decision to effectuate such merger.

             6.    All communications concerning the decision to merge Old JJCI into Chenango

 Zero to or from any Decision Maker involved with the decision to merge Old JJCI into

 Chenango Zero.

             7.    Financial Statements, whether or not printed or transmitted, for Old JJCI as of the

 end of each of the 2018, 2019, and 2020 fiscal years, and as of the end of each quarter (or any

 stub period therein) during the first three quarters of fiscal year 2021.

             8.    Copies of any Financial Statements, whether or not printed or transmitted, for

 Chenango Zero as of the date and time immediately prior to Old JJCI’s merger into Chenango

 Zero, including, without limitation, any such Financial Statements communicated, prior to the

 merger of Old JJCI into Chenango Zero, to any Decision Maker involved with the decision to

 merge Old JJCI into Chenango Zero.

             9.    Financial Statements, whether or not printed or transmitted, for Chenango Zero as

 of each of the date and time immediately prior to its divisive merger into Chenango One LLC

 (“Chenango One”) and Chenango Two LLC (“Chenango Two”).

             10.   Financial Statements, whether or not printed or transmitted, for each of Chenango

 One and Chenango Two immediately after the divisive merger of Chenango Zero into Chenango

 One and Chenango Two, including, without limitation, any such Financial Statements, or pro

 forma Financial Statements, communicated, prior to the divisive merger of Chenango Zero, to

 any Decision Maker involved with the decision to effectuate such merger.



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             11.   Financial Statements, whether or not printed or transmitted, for Chenango Two as

 each of the date and time immediately prior to, and immediately after, its merger into Currahee,

 including, but not limited to, any such Financial Statements communicated, prior to the merger

 of Chenango Two into Currahee, to any Decision Maker involved with the decision to effectuate

 such merger.

             12.   Financial Statements, whether or not printed or transmitted, for Currahee as of

 each of the date and time immediately prior to, and immediately after, Chenango Two’s merger

 into Currahee, including, but not limited to, any such Financial Statements communicated, prior

 to the merger of Chenango Two into Currahee, to any Decision Maker involved with the decision

 to effectuate such merger.

             13.   Financial Statements, whether or not printed or transmitted, for Chenango One as

 of each of the date and time immediately prior to, and immediately after, Chenango One’s

 conversion into a North Carolina LLC, including, but not limited to, any such Financial

 Statements communicated, prior to the conversion of Chenango One into a North Carolina LLC,

 to any Decision Maker involved with the decision to effectuate such conversion.

             14.   Financial Statements, whether or not printed or transmitted, for the Debtor as of

 immediately after its formation by conversion including, but not limited to, any such Financial

 Statements communicated to any Decision Maker involved with the decision to form the Debtor

 by conversion.

             15.   Financial Statements, whether or not printed or transmitted, of Royalty A&M as

 of the date of its formation, including, but not limited to, any such Financial Statements

 communicated, prior to the decision to make Royalty A&M a subsidiary of the Debtor, to any

 Decision Maker involved with such decision.



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             16.   Financial Statements, whether or not printed or transmitted, of each of the Debtor,

 New JJCI and Royalty A&M as of the Petition Date.

             17.   Financial Statements of each of the Debtor, New JJCI and Royalty A&M to any

 Decision Maker, at any time within two days prior to the Petition Date, communicated to any

 Decision Maker involved with the 2021 Corporate Restructuring.

             18.   All documents concerning any valuation, whether formal or informal, external or

 internal, performed with respect to the Debtor, New JJCI, or any portion of either’s assets or

 liabilities, including, but not limited to, the valuation itself and any pro forma projections or

 budgets used in the valuation, any work papers or communications existing in connection

 therewith.

             19.   Each “Power Point slide,” as described on pages 94 to 96 and 163 to 164 of the

 Lisman Deposition, for each quarter from the first quarter of 2016 to present.

             20.   Each “accounting memo,” as described on pages 27 to 29 and 145 to 146 of the

 Lisman Deposition, for each quarter from the first quarter of 2016 to the present.

             21.   Any valuations or assessments of liabilities, reserves, or accruals, for talcum

 powder related claims, costs or liabilities, prepared in connection with J&J’s consolidated

 financial reporting, and all communications concerning any such valuations or assessments,

 reserves or accruals.

             22.   Documents sufficient to identify the name, address and amount owed to each

 creditor of Chenango One as of (a) the date of and immediately after the divisive merger of

 Chenango Zero into Chenango One and Chenango Two, and (b) the date and time immediately

 prior to Chenango One’s conversion into a North Carolina LLC.




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             23.   Documents sufficient to identify the name, address and amount owed to each

 creditor of the Debtor as of (a) the date of and immediately after Chenango One’s conversion

 into a North Carolina LLC, and (b) the Petition Date.

             24.   Documents sufficient to identify all assets and liabilities allocated to Chenango

 One in the divisive merger of Chenango Zero.

             25.   Documents sufficient to identify all assets and liabilities allocated to Chenango

 Two in the divisive merger of Chenango Zero.

             26.   All documents and communications discussing or describing any bases or reasons

 for the allocation of assets and liabilities between Chenango One and Chenango Two in the

 divisive merger of Chenango Zero.

             27.   All documents concerning any valuation, whether formal or informal, external or

 internal, of any royalties assigned to or acquired by Royalty A&M, including, without limitation,

 any pro forma projections or budgets used in the valuation, any work papers or communications

 existing in connection therewith..

             28.   Documents sufficient to identify any royalty rights assigned to or acquired by

 Royalty A&M, including, but not limited to, copies of any such assignment, purchase or

 acquisition documents.

             29.   Any fairness opinion generated or received in connection with any aspect of the

 2021 Corporate Restructuring, including, without limitation, the merger of Old JJCI into

 Chenango Zero and the divisive merger of Chenango Zero.

             30.   All documents concerning any decision to seek or not seek a fairness opinion in

 connection with any aspect of the 2021 Corporate Restructuring, including, without limitation,

 the merger of Old JJCI into Chenango Zero and the divisive merger of Chenango Zero.



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             31.   Any services agreements between J&J Services, on the one hand, and the Debtor

 or Royalty A&M, on the other, and any exhibits, schedules, amendments or modifications

 thereto.

             32.   All communications by or on behalf of J&J, or any subsidiary or affiliate of J&J,

 to any insurance company, insurance agent or insuring broker concerning talcum powder

 liability, expense or fees on or after January 1, 2016.

             33.   Any quarterly review or assessment by J&J and any subsidiary or affiliate of J&J

 concerning past and future talcum powder-related litigation liabilities, expenses and fees.

             34.   All federal and state income tax returns filed within the United States of America

 by or on behalf of Old JJCI, and all schedules thereto, for each tax year from 2016 to the present.

             35.   Organizational charts sufficient to identify the existence of, and relationship to

 J&J and the Debtor, of all J&J subsidiaries and affiliates organized in North America at any time

 from January 1, 2016 to the present.

             36.   Organizational charts sufficient to identify the existence of, and relationship to

 J&J and the Debtor, of all J&J subsidiaries and affiliates organized outside North America at any

 time from January 1, 2016 to the present.

             37.   Any accounts payable aging reports for Old JJCI, whether or not printed or

 transmitted, as of the end of each quarter for each of the first through third quarters of 2021 or

 any stub period thereof.

             38.   All documents and communications concerning the purpose(s) and reason(s) for

 the 2021 Corporate Restructuring and each transaction therein.

             39.   All documents concerning any reasons for the timing of the filing of the Debtor’s

 bankruptcy case, including, but not limited to, any connection of the bankruptcy filing to (a) the



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 Robert Ingham et al. v. Johnson & Johnson, et al. or (b) J&J’s announced spinoff of its

 consumer health business.

             40.   Documents sufficient to identify each of the plaintiff(s), counsel for plaintiff(s),

 amount of agreed payment(s), date(s) of agreed payment(s), payor(s) of each agreed payment(s),

 bank account numbers and institution for each agreed payment(s) and releasees, for each

 settlement by J&J or any of any subsidiary of J&J of a talcum powder-related claim (regardless

 of claimed injury) at any time from January 1, 2016 to the present including any agreements for

 the settlement of any future talcum powder-related claim.

             41.   Documents sufficient to identify each of the plaintiff(s), counsel for plaintiff(s),

 amount of agreed payment(s), date(s) of agreed payment(s), payor(s) of each agreed payment(s),

 bank account numbers and institution for each agreed payment(s) and releasees, for each

 judgment paid by or on behalf of J&J or any of any subsidiary of J&J of a talcum powder-related

 claim (regardless of claimed injury) at any time from January 1, 2016 to the present.

             42.   Documents concerning any bases for Debtor’s listing of the amount of $2 billion

 or more as a “receivable,” “paid in capital” and an “asset” on its first Monthly Operating Report.

             43.   All communications, at any time during the period of March 1, 2021 through

 October 31, 2021, inclusive, to or from (a) any person working in the Investor Relations or

 Finance departments, groups, or units of J&J and (ii) any other Decision Makers of J&J, Janssen

 Pharmaceuticals, Inc., Old JJCI, New JJCI, the Debtor, or any other subsidiary of J&J containing

 any of “bankruptcy,” “bankrupt,” “bk” “talc”, “talcum powder”, “ovarian cancer,” “meso,”

 “mesothelioma,” “cancer,” “baby powder,” “Project Plato,” “Plato,” “stock performance,” “stock

 price,” “market,” “reaction,”, “fraud” “fraudulent,” “two-step,” “Chenango,” “Currahee,”

 “divisive merger”, “automatic stay,” “funding agreement,” “LTL,” “liability management,” or

 “injunction.”

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             44.   Any account agreements for the concentration bank account(s) into which all

 monies from operating subsidiaries of J&J in North America, as referred to on pages 41 and 42

 of the Lisman Deposition, are swept on a daily or near-daily basis, and for any linked bank

 accounts involving any of the entities involved in the 2021 Corporate Restructuring or their

 corporate parents.

             45.   Any intercompany loan, funding or finance agreements to which Old JJCI or New

 JJCI is or was a party at any time from January 1, 2019 to the present.

             46.   Any intercompany loan, funding or finance agreement, and any exhibits,

 amendments, modifications thereto, to which the Debtor is a party.

             47.   A mirror or copy of the hard drive of the laptop computer referred to on pages 29

 and 31 of the Lisman Deposition.

             48.   A copy of the “legal cost accounting” policy referred to on pages 42 and 43 of the

 Lisman Deposition

             49.   All documents and communications concerning “Project Plato,” including,

 without limitation, all documents and communications containing the term “Plato.”

             50.   Copies of any Board minutes or resolutions of J&J or any subsidiary of J&J

 discussing “Project Plato” or any aspect thereof and/or the resolution en masse of talcum

 powder-related liabilities, expenses and fees at any time from January 1, 2018 to the present.

             51.   Documents sufficient to identify each Decision Maker and Identified Custodian

 involved with “Project Plato” or any aspect thereof and/or the resolution en masse of talcum

 powder-related liabilities, expenses and fees at any time from January 1, 2018 to the present.

             52.   Any non-disclosure or consulting agreements signed by any person involved with

 the 2021 Corporate Restructuring or any aspect of “Project Plato” from January 1, 2018 to the

 present.

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             53.   All Jones Day billing records to any entity involved in the 2021 Corporate

 Restructuring or any aspect of “Project Plato” from January 1, 2021 to the present.

             54.   Any power points or presentation materials created by Jones Day related to the

 2021 Corporate Restructuring or any aspect of “Project Plato” from January 2021 to the present.

             55.   All draft versions of the memorandum, dated Oct 11, 2021, titled “Approval

 Request – Memorandum of Approval,” bearing Bates numbers LTL 0021791 – LTL 0021801

 (the “Approval Memo”), and all communications concerning the Approval Memo, including,

 without limitations, any communications reflecting, including or enclosing approval of any

 transaction(s) identified in the Approval Memo.

             56.   Any secondment agreements between or among J&J Services, on the one hand,

 and the Debtor and Royalty A&M, on the other, and all communications concerning the

 negotiation, drafting or execution thereof.

             57.   Any intercompany loan, funding or finance agreement to which Royalty A&M is

 a party.

             58.   Any indemnity agreements between or among Imerys Talc America Inc. or

 Cyprus Mines Corp., or any respective affiliate thereof, on the one hand, and J&J or any affiliate

 thereof, on the other.

             59.   Unredacted versions of all minutes and resolutions of the J&J Board previously

 produced in the Adversary Proceeding.

             60.   All communications, including e-mails, instant messages and text messages, at

 any time from March 1, 2020 through the present, to or from any of the Identified Custodians

 containing any of “bankruptcy,” “bankrupt,” “bk” “talc”, “talcum powder”, “ovarian cancer,”

 “meso,” “mesothelioma,” “cancer,” “baby powder,” “Project Plato,” “Plato,” “stock

 performance,” “stock price,” “market,” “reaction,”, “fraud” “fraudulent,” “two-step,”

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 “Chenango,” “Currahee,” “divisive merger,” “automatic stay,” “stay,” “funding agreement,”

 “LTL,” “liability management,” or “injunction.”

             61.   All signature cards and account-related agreements or other documents

 concerning the Bank of America account ending in 3987 referred to in Dkt. No. 548.

             62.   All documents discussing the basis or reasons for assigning the Debtor the 3987

 bank account and the $6 million in cash that the Debtor received in the 2021 Corporate

 Restructuring.

             63.   All documents concerning any secondment, employment, bonuses, LTIP,

 incentive pay, options, warrants, health or welfare benefits, pension or retirement benefits or any

 other thing of value received or receivable from J&J or any subsidiary or affiliate of J&J in

 connection with any work or services performed for the Debtor.

             64.   All documents, generated or received by any Decision Maker after January 1,

 2018, discussing or describing any alternative means of resolving talcum powder-related

 liabilities, expenses and fees other than the 2021 Corporate Restructuring.

             65.   All Documents discussing or describing why Chenango One was re-domiciled as

 a North Carolina LLC.

             66.   All documents concerning the proposed reorganization and rehabilitation of the

 Debtor, including, without limitation, any draft Chapter 11 plans, outlines of Chapter 11 plans,

 projections, and analyses of feasibility.

             67.   Any documents that the Debtor expects to introduce at any hearing on the Motion.




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 Dated: December 1, 2021                         Respectfully submitted,

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             Proposed Co-Counsel for the Official Committee of Talc Claimants

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                    Talc Creditors Committee (LTL Bankruptcy)
                               Document Custodian List


 Andrew, Chris                   Green, N.                   Mulcahy, Ann M.
 Azevedo, Jose                   Goodbridge, Michelle        Munoz, M.
 Batesko, Peter                  Gorsky, Alex                Murdica, Jim
 Beckerle, Mary                  Haas, Erik                  Neat, Kevin
 Borst, Chuck                    Hewson, Maryllin            Nixon, Randy
 Braunreuther, Joseph            Joly, Hubert                Orlando, Matthew
 Brennan, Sarah                  Kim, John                   Picariello, Christopher
 Cnossen, Valeria                Kerrane, Peter              Prince, Charles O.
 Coulson, V.                     Kowlalski, Steve            Purple Strategies
 Davis, D.Scott                  Kozak, J                    Rivera, Stephen
 Davis, Ian E.L.                 Larkin, M.                  Romanko, Lisa
 DeCandia, Leonardo              Lawrence, Alyson            Ruh, Paul
 Decker, Robert J. Jr.           Lisman, Adam                Ryan, Michelle
 Devine, K.                      Manfre, K.                  Schneider, Mark
 Deyo, Russell                   McCann, Tom                 Sneed, Michael
 Dickinson, Richard              McClellan, Mark B.          Spellman, Thomas
 Doudna, Jennifer A.             McKeegan, John              Stanzione, C.
 Duato, Jaoquin                  McGraw, D.                  Stoffels, P.
 Freinberg, Tony                 McGraw, Donny               Taubert, Jennifer
 French, Tina                    Mongon, Thibaut             Telofski, Lorena
 Freyne, L.                      Montagnino, K.              Turk, Catherine
 Giacino, Laura                  Morano, S.                  Ullman, Michael
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 Van Arsdale, Duane
 Vertenten, M.
 Washington, Eugene
 Weingrod, Louise
 Weinberger, M.
 West, Nadja
 Williams, Ronald A.
 White, A.
 Widmer, Kathy
 Wolk, Joseph
 Wuesthoff, Bob
 Zavis, Phillip
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                                      CERTIFICATE OF SERVICE

             I hereby certify that I have this day served a copy of the foregoing FIRST SET OF

 REQUESTS FOR PRODUCTION OF DOCUMENTS BY OFFICIAL COMMITTEE OF TALC

 CLAIMANTS TO DEBTOR LTL MANAGEMENT LLC IN CONNECTION WITH MOTION

 TO DISMISS by regular mail and electronic mail to the email addresses identified below, which

 is the last email address know to me:


                    James N. Lawlor
                    Wollmuth Maher & Deutsch LLP.
                    90 Washington Valley Road
                    Bedminster, NJ 07921
                    jlawlor@wmd-law.com

                    Gregory M. Gordon, Esq.
                    Jones Day
                    2727 Harwood Street
                    Dallas, TX 75201
                    gmgordon@jonesday.com

                    Attorneys for Plaintiff LTL Management LLC


 Dated: December 1, 2021                                        /s/ Brian A. Glasser
                                                                Brian A. Glasser




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                    ENCLOSURE 3
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY



     In re:                                            Chapter 11

     LTL MANAGEMENT LLC,                               Case No. 21-30589 (MBK)

                                    Debtor. 1




 FIRST SET OF REQUESTS FOR ADMISSION BY OFFICIAL COMMITTEE OF TALC
   CLAIMANTS TO DEBTOR LTL MANAGEMENT LLC IN CONNECTION WITH
                         MOTION TO DISMISS

 TO: LTL Management LLC, c/o its attorneys of record, James N. Lawlor, Wollmuth Maher &
 Deutsch LLP., 90 Washington Valley Road, Bedminster, NJ 07921 and Gregory M. Gordon,
 Esq., Jones Day, 2727 N. Harwood Street, Dallas, TX 75201

              Pursuant to Rule 36 of the Federal Rules of Civil Procedure, made applicable to this

 contested matter by Rules 7036 and 9014 of the Federal Rules of Bankruptcy Procedure, the

 Official Committee of Talc Claimants (the “TCC”), by its undersigned counsel, hereby requests

 that LTL Management LLC (“LTL” or “Debtor”) admit, for purposes of this contested matter, the

 truth of the following matters, by December 31, 2021.



                                                INSTRUCTIONS

              1.     The requests for admission are to be answered in accordance with the Federal Rules

 of Civil Procedure, the Federal Rules of Bankruptcy Procedure, the local rules of this Court and

 any other applicable rule.


 1
         The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address
 is 501 George Street, New Brunswick, New Jersey 08933.



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             2.   In answering these requests, the Debtor must include all information available to

 the Debtor or subject to reasonable inquiry by the Debtor, including, but not limited to, information

 in the Debtor’s possession, the possession of the Debtor’s attorneys, accountants, advisors, or other

 persons directly or indirectly employed by the Debtor, the Debtor’s attorneys, or anyone else

 otherwise subject to the Debtor’s control.

                                           DEFINITIONS

             1.   The “First Day Declaration” shall refer to the Declaration of John K. Kim in

 Support of First Day Pleadings, dated October 14, 2021, filed in the main bankruptcy case as Dkt.

 No. 5.

             2.   Unless otherwise defined herein, capitalized terms shall have the meanings ascribed

 to them in the First Day Declaration, except that any capitalized term in the First Day Declaration

 referring to an entity, here, shall also mean that entity’s present and former parents, subsidiaries,

 affiliates, directors, officers, members, managers, employees, agents, attorneys and

 representatives, and every other person acting on its or their behalves.

             3.   The “2021 Corporate Restructuring” shall refer, individually and collectively, to

 the series of corporate or company transactions and filings, whenever they occurred, that

 culminated in the formation, capitalization and/or re-domiciling of the Debtor and New JJCI on or

 about October 12, 2021, involving all entities and transactions that resulted in the division of

 Chenango Zero LLC (“Chenango Zero”) into the Debtor and New JJCI as described in Section II

 of the First Day Declaration.

                                              REQUESTS

 ADMIT THAT:

 REQUEST No. 1:



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             Admit that Old JJCI's talcum powder products contained asbestos.

             RESPONSE:

 REQUEST No. 2:

             Admit that Old JJCI's talcum powder products never contained asbestos.

             RESPONSE:

 REQUEST No. 3:

             Admit that the Debtor owns Old JJCI’s going concern worldwide talcum powder business

 as a result of the 2021 Corporate Restructuring.

             RESPONSE:




 REQUEST No. 4:

             Admit that Old JJCI's going concern worldwide talcum powder business was not

 transferred to the Debtor in connection with the 2021 Corporate Restructuring.

             RESPONSE:




 REQUEST No. 5:

             Admit that a valuation of all assets and all liabilities of Old JJCI and/or Chenango Zero

 was made for purposes of allocating assets and liabilities of Chenango Zero into Chenango One

 and Chenango Two.

             RESPONSE:


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 REQUEST No. 6:

             Admit that the Debtor is not a going concern.

             RESPONSE:




 Dated: December 1, 2021                                   Respectfully submitted,

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             Proposed Co-Counsel for the Official Committee of Talc Claimants




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                                      CERTIFICATE OF SERVICE

             I hereby certify that I have this day served a copy of the foregoing FIRST SET OF

 REQUESTS FOR ADMISSION BY OFFICIAL COMMITTEE OF TALC CLAIMANTS TO

 DEBTOR LTL MANAGEMENT LLC IN CONNECTION WITH MOTION TO DISMISS by

 regular mail and electronic mail to the email addresses identified below, which is the last email

 address know to me:


                    James N. Lawlor
                    Wollmuth Maher & Deutsch LLP.
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                    Bedminster, NJ 07921
                    jlawlor@wmd-law.com

                    Gregory M. Gordon, Esq.
                    Jones Day
                    2727 Harwood Street
                    Dallas, TX 75201
                    gmgordon@jonesday.com

                    Attorneys for Plaintiff LTL Management LLC




 Dated: December 1, 2021                                        /s/ Brian A. Glasser
                                                                Brian A. Glasser




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